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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11
12 CHRISTA JAMES,                        )
                                         )
                                             Case No. EDCV 18-1419-GW (JPR)

13                      Plaintiff,       )           JUDGMENT
                                         )
14                v.                     )
                                         )
15 ANDREW SAUL, Commissioner
   of Social Security,
                                         )
                                         )
16                                       )
                        Defendant.       )
17                                       )

18          Pursuant to the Order Accepting Findings and Recommendations
19 of U.S. Magistrate Judge, it is hereby ADJUDGED THAT (1)
20 Plaintiff’s request for an order remanding for further
21 proceedings is GRANTED; (2) the Commissioner’s request for an
22 order affirming his final decision is DENIED; and (3) judgment is
23 entered in Plaintiff’s favor.
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      DATED: January 11, 2021            ______________________________
26                                       GEORGE H. WU
                                         U.S. DISTRICT JUDGE
27
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